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 1
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 6   Attorneys for Plaintiff
 7

 8
                           UNITED STATES DISTRICT COURT
 9
                        SOUTHERN DISTRICT OF CALIFORNIA
10

11
     JONATHAN SAPAN,                                  Case No.: 13-cv-1964 BEN (RBB)
12

13
                  Plaintiff,                          NOTICE OF WITHDRAWAL OF
            vs.                                       FIRST JOINT MOTION TO
14
                                                      DISMISS ALL DEFENDANTS
15   ZAPPER CREDIT SOLUTIONS, LLC, a                  WITH PREJUDICE
     Nevada Limited Liability Company,
16
     NEVADA STATE CORPORATE
17   NETWORK, INC., a Nevada corporation,
     GRAIG ZAPPER, an individual,
18

19                Defendants.
20                                                    Judge: Hon. Roger T. Benitez
21
                                                      Complaint Filed: August 22, 2013

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                        Notice of Withdrawal of First Joint Motion To Dismiss
Case 3:13-cv-01964-BEN-RBB Document 21 Filed 02/02/15 PageID.68 Page 2 of 4



 1
           By and through their respective counsels, all parties to the above-captioned
 2
     case hereby withdraw their first Joint Motion To Dismiss [Document No. 19]. The
 3

 4   first motion was missing a signature and has been replaced with a fully executed new
 5
     Joint Motion To Dismiss [Document No. 20].
 6

 7

 8

 9   DATED: February 2, 2015                        PRATO & REICHMAN, APC
10

11                                                  _/s/ Christopher J. Reichman________
12                                                  By: Christopher J. Reichman, Esq.
                                                    Prato & Reichman, APC
13
                                                    Attorneys for Plaintiff
14                                                  JONATHAN SAPAN
15

16   DATED: February 2, 2015                        GALLAGHER, KRICH, APC
17

18                                                  ___/s/ Thomas F. Gallagher_________
19                                                  By: Thomas F. Gallagher, Esq.
                                                    Gallagher, Krich, APC
20
                                                    Attorneys for Defendants
21                                                  ZAPPER CREDIT SOLUTIONS, LLC,
22
                                                    NEVADA STATE CORPORATE
                                                    NETWORK, INC.,
23                                                  and GRAIG ZAPPER
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                                                2
                       Notice of Withdrawal of First Joint Motion To Dismiss
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 1

 2                                      ATTESTATION
 3
           I hereby attest that Thomas F. Gallagher has given me approval to file this
 4

 5   Notice of Withdrawal Of First Joint Motion To Dismiss. I declare under penalty of
 6
     perjury under the laws of the United States that the foregoing is true and correct.
 7

 8

 9   DATED: February 2, 2014                         PRATO & REICHMAN, APC
10

11                                                   _/s/ Christopher J. Reichman______
12
                                                     By: Christopher J. Reichman, Esq.
                                                     Prato & Reichman, APC
13                                                   Attorney for Plaintiff,
14                                                   JONATHAN SAPAN
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                        Notice of Withdrawal of First Joint Motion To Dismiss
Case 3:13-cv-01964-BEN-RBB Document 21 Filed 02/02/15 PageID.70 Page 4 of 4



 1
                               CERTIFICATE OF SERVICE
 2
     I hereby certify that the above and foregoing instrument was served upon all counsel
 3

 4   of record in the above entitled and numbered cause on February 2, 2015.
 5

 6
           __X__ Via ECF
 7

 8
     Thomas F. Gallagher, Esq.
 9
     Gallagher, Krich, APC
10   Attorneys for Defendants
     ZAPPER CREDIT SOLUTIONS, LLC,
11
     NEVADA STATE CORPORATE
12   NETWORK, INC.,
13   and GRAIG ZAPPER
     gbklaw@gmail.com
14

15

16
     DATED: February 2, 2015                         PRATO & REICHMAN, APC
17

18
                                                     _/s/ Christopher J. Reichman________
19                                                   By: Christopher J. Reichman,
20
                                                     Attorney for Plaintiff,
                                                     JONATHAN SAPAN
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                                                 4
                        Notice of Withdrawal of First Joint Motion To Dismiss
